                 IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :        1:17CR209-4
                                        :
            v.                          :
                                        :
DANYEL-ROY KIERAN                       :
  LEMONS-KING                           :        FACTUAL BASIS


      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and as a factual basis under Rule 11, Fed. R. Crim. P., states the following:

      On March 29, 2017, JEHIEL ADARIE MCGOWAN was arrested by the

Concord (N.C.) Police Department at the Best Buy store at Concord Mills, for

attempting to purchase a mobile telephone using the Best Buy credit account

of an identity theft victim. MCGOWAN was found to be in possession of two

counterfeit driver’s licenses bearing MCGOWAN’S photograph but names and

dates of birth of two different identity theft victims, and of four counterfeit

credit cards embossed with the names that were printed on the two counterfeit

driver’s licenses. Secret Service Special Agent Matt Hayes then interviewed

MCGOWAN, who waived his Miranda rights and admitted to being involved

in an identity theft/access device card conspiracy with several co-conspirators.

MCGOWAN admitted that he had a counterfeit South Carolina driver’s




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license, which bore his photograph but had the name and date of birth of an

identity theft victim whose initials are M.H. MCGOWAN said a co-conspirator

made that counterfeit driver’s license, and MCGOWAN described in detail how

he conspired to perpetrate the fraud involving M.H.’s identity and financing of

the 2014 Mercedes-Benz. MCGOWAN stated that his roommate, DANYEL-

ROY KIERAN LEMONS-KING, and other co-conspirators possessed a printer

that was capable of printing counterfeit driver’s licenses and counterfeit access

devices (here, credit cards).     MCGOWAN also stated that he and his

roommates used counterfeit driver’s licenses and credit cards that were printed

by other co-conspirators to open credit accounts at retail stores and mobile

telephone stores, and to purchase and finance vehicles in identity theft victims’

names. MCGOWAN was shown a printout of a report from a Florida-based

‘data fusion’ company now owned by a major credit-reporting bureau.

MCGOWAN acknowledged seeing similar reports from that company, stating

that the upper tier of this criminal enterprise bought access to a website for

$20,000 that allowed them to research victim identities. MCGOWAN said that

when he had a victim’s identity, he would research the victim’s credit score on

publicly-accessible websites, looking for potential victims with credit scores

above 700.



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      Based on the foregoing information from MCGOWAN and additional

evidence discovered in the investigation, a Federal search warrant for the

residence of MCGOWAN and others was obtained. On May 12, 2017, during

execution of that search warrant, agents found MARCUS ALEXANDER

ALLEN, VINCENT CHRISTOPHER BOURNE and DANYEL-ROY KIERAN

LEMONS-KING in the residence, but JEHIEL ADARIE MCGOWAN was not

present. Agents identified LEMONS-KING’S bedroom based on information an

occupant of the home who is not believed to be part of the conspiracy but was

located in the home during execution of the search warrant, and based on

documents and correspondence bearing the name of LEMONS-KING found in

this bedroom. In LEMONS-KING’S bedroom, agents found nine counterfeit

South Carolina Driver’s Licenses bearing LEMONS-KING’S photograph and

identity information not belonging to LEMONS-KING, approximately eighty-

three counterfeit credit cards, a credit card embossing machine, a Fargo

printer capable of printing credit cards and driver’s licenses, approximately

thirty white plastic credit card blanks yet to be printed, and a magnetic stripe

reader-writer. Other items found in LEMONS-KING’S bedroom related to the

conspiracy to produce false identity documents were twelve counterfeit South

Carolina driver’s licenses, each bearing LEMONS-KING’S photograph but the

names, addresses, dates of birth and license numbers of actual persons, to

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include a person whose initials are K.C., and a person whose initials are C.A.

The counterfeit access devices found included a NetSpend Visa debit card

embossed with the name of K.C., and a Green Dot Visa debit card in the name

of C.A.


      Another bedroom of the residence was identified as that of ALLEN,

because documents, correspondence, and a medicine container all bearing the

ALLEN’S name were found in this bedroom. In addition, a genuine North

Carolina Identification Card bearing ALLEN’S name and photograph were

also found in a wallet in this specific bedroom. Other items found in ALLEN’S

bedroom related to the conspiracy to produce false identity documents were (1)

a counterfeit North Carolina driver’s license bearing ALLEN’S photograph but

the name, address, date of birth and license number of a person whose initials

are W.T.B., a North Carolina resident, (2) a counterfeit South Carolina driver’s

license bearing ALLEN’S photograph but the name, address, date of birth and

license number of a person whose initials are J.K.G., a South Carolina resident,

and (3) a counterfeit access device (Capital One Visa card) embossed with the

name matching J.K.G. cited above. A Capital One Visa debit card embossed

with W.T.B.’s name was found in a bedroom associated with BOURNE.




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     Agents identified BOURNE’S bedroom based on documents and

correspondence bearing BOURNE’S name being found in this bedroom. In

BOURNE’S bedroom, agents found two counterfeit North Carolina Driver’s

Licenses and four counterfeit South Carolina Driver’s Licenses, each bearing

BOURNE’S photograph but with identity information of other actual persons.

Among those were (1) a counterfeit North Carolina driver’s license bearing

BOURNE’S photograph but the name, address, date of birth and license

number of a person whose initials are S.B., a Charlotte, North Carolina

resident, (2) a counterfeit North Carolina driver’s license bearing BOURNE’S

photograph but the name, address, date of birth and license number of a person

whose initials are E.Z., a Charleston, South Carolina resident. Agents also

found twenty-four counterfeit credit cards in BOURNE’S room, including an

American Express card embossed with S.B.’s name and a Capital One Visa

card embossed with E.Z.’s name, twenty-one blanks white plastic cards, two

magnetic stripe reader/writers, and an embossing machine.


      Additionally, four counterfeit driver’s licenses bearing MCGOWAN’S

photograph but identity information of other actual persons were found in the

residence, including two North Carolina licenses and six South Carolina

licenses. Among those was a North Carolina driver’s license with the identity

information of a person whose initials are J.L.W., a resident of Huntersville,
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N.C., and a South Carolina license with the identity information of a person

whose initials are J.Y. There was also a counterfeit netSpend Visa debit card

embossed J.L.W.’s name, and a counterfeit Major League Baseball Extra Bases

MasterCard embossed with J.Y.’s name found by the agents.


      The false identification documents (here, North and South Carolina

driver’s licenses) possessed by ALLEN, MCGOWAN, BOURNE and LEMONS-

KING were used and possessed in relation to the conspiracy to produce false

identification documents. The use and possession of those false identification

documents was in or affecting interstate commerce, in that they were produced

using actual identities obtained from the Florida-based data fusion company,

as further researched on the internet by the co-conspirators to find credit

scores, with the internet being a means of interstate commerce. Each of the

financial institutions shown on the counterfeit access devices mentioned above

does business in interstate commerce. Additionally, the objects of the

conspiracy as described above in the interview with MCGOWAN included the

use of false identification documents in conjunction with counterfeit access

devices to purchase cellular phones from retailers including Best Buy, an

American multi-national company based in Richfield, Minnesota, which

operates in excess of one thousand stores inside and outside of the United

States. In deciding whether the interstate commerce element is met in the
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context of 18 U.S.C. § 1028, courts look to whether the intended criminal

action, if completed, would affect interstate commerce in an adverse manner.

United States v. Villarreal, 253 F.3d 831, 834–35 (5th Cir. 2001), citing United

States v. Pearce, 65 F.3d 22, 25 (4th Cir.1995).


      Co-defendants      MARCUS        ALEXANDER        ALLEN,       VINCENT

CHRISTOPHER BOURNE and JEHIEL ADARIE MCGOWAN have each

previously pleaded guilty to charges in the above-captioned matter, and have

each been sentenced in this case.


      This the 29th day of May, 2018.




                               Respectfully submitted,
                               MATTHEW G.T. MARTIN
                               United States Attorney

                               /s/ ANAND P. RAMASWAMY
                               Assistant United States Attorney
                               NCSB No. 24991
                               United States Attorney's Office
                               Middle District of North Carolina
                               101 S. Edgeworth Street, 4th Floor
                               Greensboro, North Carolina 27401
                               Phone: (336) 333-5351




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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2018, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

      James Blake Norman, Esq.

                                Respectfully submitted,

                                MATTHEW G.T. MARTIN
                                UNITED STATES ATTORNEY


                                /S/ ANAND P. RAMASWAMY
                                Assistant United States Attorney
                                NCSB # 24991
                                United States Attorney's Office
                                Middle District of North Carolina
                                101 South Edgeworth Street, 4th Floor
                                Greensboro, NC 27401
                                Phone: 336/333-5351




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